                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN


WILLIAM FEEHAN,

              Plaintiff,

      v.                                    Case No. 20-CV-1771

WISCONSIN ELECTIONS
COMMISSION, and its members ANN S.
JACOBS, MARK L. THOMSEN, MARGE
BOSTELMAN, JULIE M. GLANCEY,
DEAN KNUDSON, ROBERT F.
SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS,
in his official capacity,

              Defendants.


  WISCONSIN ELECTIONS COMMISSION AND ITS MEMBERS’
 RESPONSE TO PLAINTIFF’S PROPOSED BRIEFING SCHEDULE


      Defendants Wisconsin Elections Commission and its members submit

this response to Plaintiff’s proposed briefing schedule on its motion for a

temporary restraining order or, in the alternative, a preliminary injunction.

Plaintiff proposes that Defendants be ordered to file a response to the motion

by Friday, December 4, at 8:00 p.m., that Plaintiff file a reply by Saturday,

December 5, at 8:00 p.m., and that this Court issue a decision by Sunday,

December 6, at 5:00 p.m. (Dkt. 10-1; 18.) To justify this incredibly short

timeline, Plaintiff asserts that he needs a decision by no later than December


           Case 2:20-cv-01771-PP Filed 12/04/20 Page 1 of 3 Document 26
6 so that he can “prepare for and seek whatever further relief may be then

available in the one day left before the December 8 meeting of electors.”

(Dkt. 18:2.)

      But, even if that meeting had any relevance to this lawsuit, no such

exigency would exist because the meeting of electors does not occur until

December 14, 2020. See Wis. Stat. § 7.75(1) (“The electors for president and

vice president shall meet at the state capitol following the presidential election

at 12:00 noon the first Monday after the 2nd Wednesday in December.”). In

any event, any exigency is of the Plaintiff’s own making, as they have chosen

to wait to bring their claims until eleventh hour.

      A more reasonable timeframe for Defendants to respond to Plaintiffs’

voluminous filings—an amended complaint, exhibits, and TRO filings totaling

nearly 400 pages—would be as follows:

   • Defendants file a response brief by Tuesday, December 8, at 11:59 p.m.

   • Plaintiff files a reply brief by Wednesday, December 9, at 11:59 p.m.

That schedule, while still extremely abbreviated, would at least give

Defendants a reasonable time to respond to the amended complaint and

accompanying documents that Plaintiff filed the morning of December 3, a day

before he asks Defendants to file substantive responses.




                                        2
         Case 2:20-cv-01771-PP Filed 12/04/20 Page 2 of 3 Document 26
     Dated this 4th day of December, 2020.

                                  Respectfully submitted,

                                  JOSHUA L. KAUL
                                  Attorney General of Wisconsin

                                  Electronically signed by:

                                  s/ S. Michael Murphy
                                  S. MICHAEL MURPHY
                                  Assistant Attorney General
                                  State Bar #1078149

                                  JODY J. SCHMELZER
                                  Assistant Attorney General
                                  State Bar #1027796

                                  COLIN T. ROTH
                                  Assistant Attorney General
                                  State Bar #1103985

                                  Attorneys for Defendants

Wisconsin Department of Justice
Post Office Box 7857
Madison, Wisconsin 53707-7857
(608) 266-5457 (Murphy)
(608) 266-3094 (Schmelzer)
(608) 264-6219 (Roth)
(608) 294-2907 (Fax)
murphysm@doj.state.wi.us
schmelzerjj@doj.state.wi.us
rothct@doj.state.wi.us




                                    3
       Case 2:20-cv-01771-PP Filed 12/04/20 Page 3 of 3 Document 26
